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                        IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION


 UNITED STATES OF AMERICA,
                                                          ORDER GRANTING
  Plaintiff,                                          MOTION TO MODIFY TERM OF
                                                        SUPERVISED RELEASE
 v.

 ALEXANDER MARTIN,
                                                          Crim. No. 2:10-CR-31 CW
  Defendant.



       For the reasons stated in the Unopposed Motion to Modify Term of Supervised Release,

this court GRANTS the motion. Pursuant to 18 U.S.C. § 3583(e)(2), the term of supervised

release originally imposed is reduced to a term of 18 months. The court will enter an amended

Judgment and Commitment Order reflecting this amendment.

       SO ORDERED this 5th day of April, 2017.


                                                   BY THE COURT:


                                                   ____________________________________
                                                   CLARK WADDOUPS
                                                   U.S. District Court Judge




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